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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.

     CASE NUMBER             CAPTION                              HEARING DATE

     CR84-L-18               USA v. Stephenson                    10/01/84
     CR88-O-33               USA v. Adebiyi                       01/14/94
     8:92cr12                USA v. Hasan                         07/17/97
     8:93cr4                 USA v. Greer                         03/08/05
     4:93cr3026              USA v. Chavez                        07/24/02
     4:93cr3059              USA v. Tomlinson                     08/30/93 and
                                                                  11/3 thru 11/5/98
     4:97cr3002              USA v. Johnson                       09/02/97;
                                                                  9/3 thru 9/5/97; and
                                                                  3/9 thru 3/11/98
     4:97cr3018              USA v. Kramer                        06/19/01
     4:97cr3031              USA v. Eastman                       02/11/98
     4:98cr3001              USA v. Zeilinger                     08/27/98
     4:98cr3005              USA v. Flores                        01/29/98
     4:98cr3005              USA v. Garcia-Sanchez                02/03/98
     4:98cr3007              USA v. Pagan                         01/15/99
     4:98cr3007              USA v. Ramirez                       7/27 thru 7/29/98;
                                                                  and 02/26/99
     4:98cr3010              USA v. Haynes                        01/23/04
     4:98cr3054              USA v. Wright                        1/25/05 and 3/14/05
     4:98cr3076              USA v. Nunez                         02/15/00
     4:98cr3087              USA v. Armenta-Medrano               11/20/00
     4:98cr3091              USA v. Fuller                        10/02/03
     4:98cr3101              USA v. Nehls                         07/12/99
     4:98cr3116              USA v. Ummel                         06/27/03
     8:99cr236               USA v. Zimmer                        07/24/01
     4:99cr3014              USA v. Herbeck                       07/25/02
     4:99cr3018              USA v. Jackson                       06/03/04
     4:99cr3020              USA v. Poulack                       10/1 thru 10/5/99
                                                                  and 02/11/00
     4:99cr3027              USA v. Alverez, Hernandez            09/21/99
     4:99cr3109              USA v. Lowell                        12/08/00

     DATED this 7th day of February, 2006.

                                         BY THE COURT

                                         s/ RICHARD G. KOPF
                                         United States District Judge
